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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

IN RE: TERRORIST ATTACKS ON          :
SEPTEMBER 11, 2001                   :               03-MDL-1570 (GBD)(SN)
____________________________________

This Document Relates To:
Patricia Ryan, Individually as Spouse and as Personal Representative of the Estate of John J.
Ryan, deceased; Kristen Ryan, Individually and as Surviving Child of John J. Ryan, deceased;
Laura Ryan, individually and as Surviving Child of John J. Ryan, deceased; and Colin Ryan,
Individually as Surviving Child of John J. Ryan, deceased only in the cases of Ashton, et al. v.
al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda
Islamic Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of Saudi
Arabia, Case No.: 17-cv-02003 (GBD)(SN)


                           MOTION TO SUBSTITUTE COUNSEL

       COME NOW, Patricia Ryan, individually as spouse and as Personal Representative of the

Estate of John J. Ryan, deceased; Kristen Ryan, individually as surviving child of John J. Ryan,

deceased; Laura Ryan, individually as surviving child of John J. Ryan, deceased; and Colin Ryan,

individually as surviving child of John J. Ryan, deceased (“the Ryan Plaintiffs”) Plaintiffs in

Ashton, et al. v. al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v.

al Qaeda Islamic Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of

Saudi Arabia, Case No.: 17-cv-02003 (GBD)(SN), and file this Motion to Substitute Counsel. As

grounds for said Motion, the Ryan Plaintiffs state as follows:

       1.      The Ryan Plaintiffs were represented by Thea Capone and Michel F. Baumeister

of Baumeister & Samuels, P.C. (“Baumeister & Samuels”). On March 22, 2019, by email,

Baumeister & Samuels informed the Ryan Plaintiffs that they should seek new counsel.

       2.      The Ryan Plaintiffs have retained Dennis G. Pantazis of Wiggins Childs Pantazis

Fisher Goldfarb LLC to represent them in this matter.
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       3.      The Ryan Plaintiffs request the Court to substitute Dennis G. Pantazis as attorney

of record as to the Ryan Plaintiffs only.

       4.      The Ryan Plaintiffs and Dennis G. Pantazis consent to the substitution of counsel

as requested herein (signed Consents attached hereto as Exhibit A).

       5.      The parties anticipate after substitution of counsel is granted, they will move the

Court to separate the Ryan Plaintiffs into a separate case.

       WHEREFORE, PREMISES CONSIDERED, Patricia Ryan, individually as spouse and

as Personal Representative of the Estate of John J. Ryan, deceased; Kristen Ryan, individually as

surviving child of John J. Ryan, deceased; Laura Ryan, individually as surviving child of John J.

Ryan, deceased; and Colin Ryan, individually as surviving child of John J. Ryan, deceased, pray

that this Honorable Court enter an Order substituting Dennis G. Pantazis of Wiggins Childs

Pantazis Fisher Goldfarb LLC as attorney of record for the Ryan Plaintiffs only in Ashton, et al. v.

al Qaeda Islamic Army, et al., Case No. 02-cv-6977 (GBD)(SN); Bauer, et al. v. al Qaeda Islamic

Army, et al., Case No. 02-cv-7236 (GBD)(SN); and Ashton, et al. v. Kingdom of Saudi Arabia,

Case No.: 17-cv-02003 (GBD)(SN).

                                              RESPECTFULLY SUBMITTED,

                                              /s/ Dennis G. Pantazis
                                              Dennis G. Pantazis


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